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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff/Respondent,        )
                                                  )
              v.                                  )       Case No. 07-20168-JWL
                                                  )                11-2471-JWL
LATYSHA TEMPLE,                                   )
                                                  )
                     Defendant/Petitioner.        )
                                                  )



                          MEMORANDUM AND ORDER

       Latysha Temple was convicted following a jury trial of conspiracy to

manufacture, possess with intent to distribute, and distribute 50 grams or more of

cocaine base (“crack”) and possess with intent to distribute and distribute 5 kilograms

or more of cocaine. She received a 151-month sentence. Ms. Temple filed a direct

appeal on October 5, 2009, challenging her conviction and sentence on five grounds

(doc. 1050). The Tenth Circuit affirmed on all grounds (doc. 1341).

       Ms. Temple’s case is once again before this court on a motion to vacate, set aside,

or correct her sentence pursuant to 28 U.S.C. § 2255 (doc. 1372). For the reasons set

forth below, this motion is denied.

1.     Standard

       Section 2255 entitles a prisoner to relief “[i]f the court finds that the judgment

was rendered without jurisdiction, or that the sentence imposed was not authorized by
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law or otherwise open to collateral attack, or that there has been such a denial or

infringement of the constitutional rights of the prisoner as to render the judgment

vulnerable to collateral attack.” 28 U.S.C. § 2255. The court must hold an evidentiary

hearing on a section 2255 motion “‘[u]nless the motion and files and records of the case

conclusively show that the prisoner is entitled to no relief.’” United States v. Galloway,

56 F.3d 1239, 1240 n.1 (10th Cir. 1995) (quoting § 2255). A court need not grant an

evidentiary hearing where the factual allegations are contradicted by the record,

inherently incredible, or when they are conclusions rather than statements of fact.

Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999) (quoting Engelen v.

United States, 68 F.3d 238, 240 (8th Cir. 1995)); see also United States v. Sanchez, No.

96-7039, 1997 WL 8842, at *3 (10th Cir. Jan. 10, 1997) (“[D]efendant’s conclusory

allegations . . . which contradict the record made at the plea hearing, were insufficient

to require an evidentiary hearing.”).

2.     Ineffective Assistance of Counsel

       To obtain relief under § 2255 on the grounds of ineffective assistance of counsel,

a petitioner must establish that his attorney’s performance was deficient as compared to

an objective standard of reasonable performance. Strickland v. Washington, 466 U.S.

668, 687-88, 694 (1984). “In applying this test, we give considerable deference to an

attorney’s strategic decisions and ‘recognize that counsel is strongly presumed to have

rendered adequate assistance and made all significant decisions in the exercise of


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reasonable professional judgment.’” Bullock v. Carver, 297 F.3d 1036, 1044 (10th Cir.

2002) (quoting Strickland, 466 U.S. at 690). As the one raising the challenge, the

petitioner “bears the burden of establishing that his trial counsel ‘made errors so serious

that counsel was not functioning as the ‘counsel’ guaranteed the defendant by the Sixth

Amendment.’” Sallahdin v. Mullin, 380 F.3d 1242, 1247-48 (10th Cir. 2004) (quoting

Strickland, 466 U.S. at 687).

       The petitioner must also prove that counsel’s deficient performance prejudiced

his defense, “depriving him of a fair trial with a reliable result.” United States v.

Orange, 447 F.3d 792, 796 (10th Cir. 2006) (citing Strickland, 466 U.S. at 687). Thus,

to satisfy the prejudice prong, the petitioner must show that there is a reasonable

probability that but for counsel’s alleged errors, the result of the proceeding would have

been different. Strickland, 466 U.S. at 694.

       Because the petitioner “must demonstrate both Strickland prongs to establish his

claim, a failure to prove either one is dispositive.” Orange, 447 F.3d at 796-97 (citing

Smith v. Robbins, 528 U.S. 259, 286 n.14 (2000)). “The performance component need

not be addressed first.” Smith, 528 U.S. at 286 n.14. “If it is easier to dispose of an

ineffectiveness claim on the ground of lack of sufficient prejudice, which we expect will

often be so, that course should be followed.” Strickland, 466 U.S. at 697; see also

Romano v. Gibson, 239 F.3d 1156, 1181 (10th Cir. 2001) (“This court can affirm the

denial of habeas relief on whichever Strickland prong is the easier to resolve.”).


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       Ms. Temple contends that her attorney was ineffective on three grounds: (1)

failure to request a bill of particulars to show that Ms. Temple played no role in the

conspiracy; (2) failure to challenge evidence obtained through an unauthorized wiretap

application where the government failed to meet the necessity requirement; and (3)

failure to object to firearm and obstruction sentencing enhancements, which were not

proven by a preponderance of evidence.

A.     Ground 1 - Bill of Particulars

       Ms. Temple maintains that her attorney was ineffective for failing to request a

bill of particulars, “which would have outlined the ‘alleged’ conspiracy, therefore

concluding that Ms. Temple played no role in it” (doc. 1372, at 4). She does not,

however, provide support for this contention. Contrary to the premise underlying her

contention, moreover, a bill of particulars is not a vehicle to compel the government to

outline its case or spell out its theories for a defendant. See United States v. Gabriel, 715

F.2d 1447, 1449 (10th Cir. 1983). Its purpose is much narrower, and counsel must

assess whether or not a request for a bill of particulars would be advisable under the

circumstances.

       In evaluating the effectiveness of counsel, “we give considerable deference to an

attorney’s strategic decisions and ‘recognize that counsel is strongly presumed to have

rendered adequate assistance and made all significant decisions in the exercise of

reasonable professional judgment.’” Bullock v. Carver, 297 F.3d 1036, 1044 (10th Cir.


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2002) (quoting Strickland, 466 U.S. at 690).

       Here, Count 1 of the indictment charged Ms. Temple and several co-defendants

with conspiracy to manufacture, possess with intent to distribute, and distribute 50 grams

or more of “crack” and possess with intent to distribute and distribute 5 kilograms or

more of cocaine (doc. 50, at 2-3). The indictment tracked the language of the criminal

statutes that Ms. Temple allegedly violated, identified the date of the alleged offenses,

identified the drugs and amounts at issue, and identified the other members of the alleged

conspiracy (id.). The evidence presented by the Government at trial was consistent with

the allegations in the indictment. As such, the indictment was sufficient to inform Ms.

Temple of the charges against her, minimize surprise at trial, and enable her to plead

double jeopardy if she was later prosecuted for the same offenses, thus obviating the

need for a bill of particulars. See United States v. Dunn, 841 F.2d 1026, 1029 (10th Cir.

1988) (discussing the purpose of a bill of particulars and noting that a bill of particulars

is not intended to be a discovery device). Therefore, it was not unreasonable for Ms.

Temple’s attorney not to request a bill of particulars.

       Thus, Ms. Temple cannot show that her attorney’s performance was deficient as

compared to an objective standard of reasonable performance. See Strickland, 466 U.S.

at 687-88, 694.

B.     Ground 2 - Challenge to Wiretap Evidence

       Ms. Temple maintains that her attorney was ineffective for failing to challenge


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evidence obtained through an unauthorized wiretap application where the government

failed to meet the necessity requirement.         The record, however, contradicts Ms.

Temple’s assertion. Before trial, Ms. Temple’s attorney joined two motions to suppress

electronic surveillance filed by her co-defendants (doc. 549). One of those motions

specifically asserted that the government failed to meet the necessity requirement (doc.

445, at 3-5). At a pretrial hearing, the court denied that motion (doc. 609).

          Thus, Ms. Temple’s contention that her attorney failed to challenge wiretap

evidence is without merit and provides no basis for § 2255 relief.

C.        Ground 3 - Sentencing Enhancements

          Ms. Temple contends that her attorney was ineffective for failing to challenge a

firearm and obstruction of justice enhancement at sentencing. Again, the record

contradicts Ms. Temple’s contention. Ms. Temple’s attorney filed objections to both the

firearm enhancement and the obstruction of justice enhancement (doc. 997, at 51-54).

At the sentencing hearing, the court overruled both objections (doc. 1098, at 37-40).

          Thus, Ms. Temple’s contention that her attorney failed to challenge the firearm

and obstruction of justice enhancement is without merit and provides no basis for § 2255

relief.

3.        Procedurally-Defaulted Claims

          Absent an intervening change in law, issues disposed of on direct appeal generally

will not be considered in a § 2255 collateral attack. United States v. Warner, 23 F.3d


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287, 291 (10th Cir. 1994). Here, Ms. Temple raises five issues that were previously

addressed on direct appeal: (1) the government failed to meet the necessity requirement

in its wiretap application; (2) the evidence presented at trial was insufficient to support

a conviction; (3) the jury was improperly given an aiding and abetting jury instruction;

(4) the firearm and obstruction of justice sentencing enhancements were not proven by

the preponderance of evidence; and (5) the court lacked venue because all allegations

against Ms. Temple took place in Missouri.1

       The Tenth Circuit considered and rejected each of these arguments, issuing its

mandate on June 15, 2011 (doc. 1341). Ms. Temple does not cite any new law that

would justify another examination of the merits of these arguments. In fact, she provides

no support for the claims. As such, the court will not revisit the claims here.

4.     Evidentiary Hearing

       Because Ms. Temple’s arguments are contradicted by the record or inherently

incredible, her request for an evidentiary hearing is denied. See Arredondo, 178 F.3d at

782.

5.     Certificate of Appealability

       Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255

Proceedings states that the court must issue or deny a certificate of appealability when

       1
        Ms. Temple includes the first four arguments as part of ineffective assistance of
counsel claims. The court will not revisit the merits of these arguments even though they are
now couched as part of ineffective assistance of counsel claims. See United States v. Davis, 406
Fed. App’x 268, 271 (10th Cir. 2010).

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it enters a final order adverse to the applicant. “A certificate of appealability may issue

. . . only if the applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2).2 To satisfy this standard, the movant must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004)

(quoting Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For the reasons stated above,

Ms. Temple has not made a substantial showing of the denial of a constitutional right.

The court therefore denies a certificate of appealability.




       IT IS THEREFORE ORDERED BY THE COURT that Defendant’s Motion

to Vacate Sentence Pursuant to 28 U.S.C. § 2255 (doc. 1372) is denied.



       IT IS SO ORDERED this 16th day of December, 2011.


                                     s/ John W. Lungstrum
                                     John W. Lungstrum
                                     United States District Judge




       2
         The denial of a § 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1);
28 U.S.C. § 2253(c)(1).

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